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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division


UNITED STATES OF AMERICA,          ]        Hon. Leonie M. Brinkema, U.S.D.J.

Plaintiff                          ]

        V.                         ]                  No. 1: 19-cr-334

ERIC YONG WOO, et al.              ]                Criminal Action

Defendant.                         ]

-------------- ]


      MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT'S MOTION FOR
                     RELEASE PENDING TRIAL




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                        PRELIMINARY STATEMENT/STATEMENT OF FACTS


        Defendant Eric Yong Woo ("Mr. Woo" and "Defendant"), by and through counsel, files

this motion pursuant to 18 U.S.C. §§ 3142 and 3145, seeking de nova review of the detention

order entered in the United States District Court for the Central District of California dated

October 6, 2020 ("October 6, 2020 Detention Order"), as well as release from detention pending

trial in this matter.


        A Superseding Indictment ("Superseding Indictment") was brought against Mr. Woo and

another five (5) co-defendants in this matter on September 24, 2020 before the United States

District Court for the Eastern District of Virginia in Alexandria, Virginia. See, Dkt. 88. The

Superseding Indictment brings fourteen (14) Counts of allegations, encompassing distribution of

cocaine, money laundering, identity fraud, and bribery. Mr. Woo was charged with only one (1)

Count among the fourteen (14) Counts of allegations, which is Count three (3), Conspiracy to

Engage in Money Laundering in violation of 18 U.S.C. § 1956.


        Mr. Woo was arrested on or around September 29, 2020 at his residence in Los Angeles,

California, pursuant to an arrest warrant issued by the United States District Court for the Eastern

District of Virginia on September 24, 2020. See, Dkt. 190.


        An initial appearance was conducted before the United States District Court for the

Central District of California on September 30, 2020 and a detention hearing was conducted

before the same court on October 6, 2020, the records of which are currently under seal. Mr.

Woo was ordered detained following the hearing, awaiting to be transferred to Alexandria,

Virginia, where the Superseding Indictment is pending.




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       Before the transfer was initiated on or around December 22, 2020, Mr. Woo had been

detained for over two (2) months. While detained, Mr. Woo contracted COVID-19 in

November. Mr. Woo ultimately arrived in Alexandria, Virginia on or around January 11, 2021

and is currently detained at Northern Neck Regional Jail in Warsaw, Virginia. An initial

appearance was conducted before Magistrate Judge John F. Anderson via video conference on

January 15, 2021.


       For the reasons set forth herein, Mr. Woo respectfully requests that this Court conduct a

de nova review of the October 6, 2020 Detention Order and permit him to be released from

detention pending trial in this matter, due to the low likelihood that Mr. Woo will fail to appear

at trial should he be released from detention in the interim and the low risk that his release will

pose a risk to any individual or her community, as well as the health risk posed to Mr. Woo by

continued detention during the COVID-19 pandemic.


                                        LEGAL ARGUMENT


       I.      This Court Has the Authority to Conduct a de novo Review of the October 6,
               2020 Detention Order.

        18 U.S.C. § 3145(b) provides that a defendant, if ordered detained by a magistrate judge

or "a person other than a judge of a court having original jurisdiction over the offense," may

request the court having original jurisdiction over the offense to revoke or amend the detention

order. 18 U.S.C. § 3145(b); see also, United States v. Clark, 865 F.2d 1433 (4th Cir. 1989)

(noting that a defendant ordered detained by a magistrate judge may seek review under 18 U.S.C.

§ 3145(b)); United States v. Cannon, 711 F. Supp. 2d 602 (E.D.Va. 2010) (holding that the

defendant ordered detained by a district judge in his arresting jurisdiction can seek revocation or
            .                      .                        .                       .




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amendment of the detention order in the charging jurisdiction pursuant to 18 U.S.C. § 3145(b)).

Such review should be conducted de novo. United States v. Clark, 865 F.2d 1436.


       In this context, although the statute does not provide a clear definition of "the court

having original jurisdiction," it is generally understood to refer to the district court in which the

prosecution is pending. United States v. El-Edwy, 272 F.3d 149, 154 (2d Cir. 2001); see also,

United States v. Cannon, 711 F. Supp. 2d 606 (citing United States v. El-Edwy, 272 F.3d 154).


       In the instant case, for the purpose of determining jurisdiction under 18 U .S .C. § 3145(b ),

this Court has the original jurisdiction of the offenses alleged against Mr. Woo, since the

Superseding Indictment and the pending prosecution was filed with this Court. Therefore, this

Court has the authority to conduct a de novo review of the October 6, 2020 Detention Order.


       II.     Mr. Woo Should Be Released Pending Trial.

        Pretrial detention is not favored under the current legal framework. United States v.

Davis, 449 F. Supp. 3d 532,535 (D. Md. 2020) (citing United States v. Salerno, 481 U.S. 739,

755). The pretrial detention statute, 18 U.S.C. § 3142, provides that the Court may release a

defendant from detention pending trial unless it determines that: ( 1) such release will not

reasonably assure the appearance of such person as required; or (2) such release will endanger

the safety of any other person or the community. 18 U.S.C. § 3142(b), (c). The statute imposes

rebuttable presumptions against release in circumstances specified under 18 U.S.C. § 3142(e)(2)

and (e)(3). However, in all other circumstances, the Court should not make a presumption

against release and should take into account the various factors enumerated in 18 U.S.C. §

3142(g) in making determinations as to the above-referenced two (2) inquiries.


                1. There Is No Rebuttable Presumption against Pre-trial Release Present in
                   This Matter.


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       In determining whether the defendant poses a risk to the safety of any other person or

community, 18 U.S.C. § 3142(e)(2) provides a series of conditions which, if satisfied, would

give rise to a rebuttable presumption that the defendant is likely to pose a risk to the safety of any

other person or community:


           [A] rebuttable presumption arises that no condition or combination of
           conditions will reasonably assure the safety of any other person and the
           community if such judicial officer finds that-
           (A) the person has been convicted of a Federal offense that is described in
           subsection (f)( 1) of this section, or of a State or local offense that would
           have been an offense described in subsection (f)( 1) of this section if a
           circumstance giving rise to Federal jurisdiction had existed;
           (B) the offense described in subparagraph (A) was committed while the
           person was on release pending trial for a Federal, State, or local offense;
           and
           (C) a period of not more than five years has elapsed since the date of
           conviction, or the release of the person from imprisonment, for the offense
           described in subparagraph (A), whichever is later.
18 U.S.C. § 3142(e)(2).


        18 U.S.C. § 3142(e)(3) further provides:


           Subject to rebuttal by the person, it shall be presumed that no condition or
           combination of conditions will reasonably assure the appearance of the
           person as required and the safety of the community if the judicial officer
           finds that there is probable cause to believe that the person committed-
            (A) an offense for which a maximum term of imprisonment of ten years or
            more is prescribed in the Controlled Substances Act (21 U.S.C. 801 et
            seq.), the Controlled Substances Import and Export Act (21 U.S.C. 951 et
            seq.), or chapter 705 of title 46;
            (B) an offense under section 924(c), 956(a), or 2332b of this title;
           (C) an offense listed in section 2332b(g)(5)(B) of title 18, United States
           Code, for which a maximum term of imprisonment of 10 years or more is
           prescribed;
            (D) an offense unqer chapter 77 of this tiUe for which a maxim1.,1m term of
            imprisonment of 20 years or more is prescribed; or




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           (E) an offense involving a minor victim under section 1201, 1591, 2241,
           2242, 2244(a)(l), 2245, 2251, 2251A, 2252(a)(l), 2252(a)(2), 2252(a)(3),
           2252A(a)(l), 2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422,
           2423, or 2425 of this title.
18 U.S.C. § 3142(e)(3).


       None of the above-cited conditions is present in Mr. Woo's matter. Mr. Woo does not

have any prior criminal history or arrest record. The offense alleged against Mr. Woo, money

laundering in violation of 18 U.S.C. § 1956, is not violent in nature.


       Therefore, absent the establishment of any presumption against release, the Court should

evaluate Mr. Woo's eligibility for a pre-trial release based on factors illustrated in 18 U.S.C. §

3142(g), as to many of which the Government should carry the burden to show that Mr. Woo

should not be released pending trial.


               2. Mr. Woo Is Not Likely to Flee If Released Pending Trial.


       The Government bears the burden to prove by a preponderance of evidence that "no

combination of conditions will reasonably assure the defendant's presence at future court

proceedings." United States v. Stewart, 19 F. App'x 46, 48 (4th Cir. 2001).


       Mr. Woo is a United States citizen and has been living in the Los Angeles, California

area since 1997. He has strong family and social ties in this community as well as in the United

States. Mr. Woo has been married to his wife, Ms. Yuan Ting Deng, for almost three (3) years.

They have two (2) very young children together. One is eighteen (18) months old and the other

is only nine (9) months old. Mr. Woo's presence is important to his family, as his wife does not

speak English and their children are very young and require extensive care.




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           Mr. Woo also undertakes the responsibility of taking care of his parents, who are both in

their seventies and retired. 1 Mr. Woo's parents are also United States citizens and reside in the

Los Angeles area in California. Since Mr. Woo's parents cannot speak English, Mr. Woo used

to help them on a regular basis.


           Mr. Woo graduated from University of California, Irvine in 2005, majoring in

Information and Computer Science. He also attended community college. Prior to the arrest,

Mr. Woo has been employed and working as a manager for LU Trading Inc. ("LU Trading") at

955 N Sunrise Lane, Unit B, Azusa, California 91702. Mr. Woo received a monthly salary of

$1,800, plus any available share of profit. Prior to his job at LU Trading, Mr. Woo had worked

for two (2) other companies as a manager. He had also worked other jobs while attending

schools.


           These circumstances indicate that Mr. Woo is unlikely to flee if released pending trial, as

his family, which maintains a strong tie in the United States, is heavily dependent on him, and he

had steady income from employment as well as an almost continuous employment record prior

to arrest. Mr. Woo's parents have also agreed to serve as a third-party custodian should the

Court require a custodian to be appointed upon Mr. Woo's release pending trial. On the other

hand, having graduated from the University of California, Irvine, Mr. Woo is well-educated and

is able to comprehend and comply with the conditions imposed upon a pre-trial release.


                    3. Mr. Woo Is Not Likely to Pose a Danger to the Safety of Any Other
                       Person or the Community If Released Pending Trial.




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    Mr. Woo's parents have offered to serve as a third-party custodian and are available to speak with Pre-Trial
    Services or any Court agency as to their fitness to serve in this capacity.


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       The Government bears the burden of proving by a clear and convincing evidence that "no

condition or combination of conditions will reasonably assure the safety of any other person and

the community." United States v. Davis, 449 F. Supp. 3d 532,534 (D. Md. 2020).


       Mr. Woo does not have any known prior criminal history before this matter. He never

uses drugs. He does not smoke or has alcohol abuse problems, either. There is no indication

from Mr. Woo's prior experience that he has any tendency to pose danger to the community.

Instead, Mr. Woo is a warm-hearted person who cares about his family as well as others who are

less fortunate. He used to support poor children via World Vision when he was financially able

to do so. He also has been taking care of his family as a responsible husband, father, and son.


       Pursuant to a study conducted by the United States Sentencing Commission, Mr. Woo

presents a very low risk of recidivate from at least two (2) dimensions. On one hand, Mr. Woo

does not have any prior criminal history, placing him among the least likely offenders to

recidivate. On the other hand, people with a college degree presented a very low rate of

recidivism, which is 19.1 %, compared to other groups, for example, the rate for people who did

not graduate from high school, which is 60.4%. See, United States Sentencing Commission,

Recidivism Among Federal Offenders: A Comprehensive Overview (2016), available at:

https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

publications/2016/recidivism_overview .pdf.


       Therefore, it is unlikely that Mr. Woo would pose a danger to any other person or

community, or otherwise engage in any illegal activities, if released.


               4. Taking into Consideration the Factors Illustrated by 18 U.S.C. § 3142(g),
                  Detention Pending Trial Is Not Necessary. .




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         18 U.S.C. § 3142(g) illustrates the following factors to be considered by the Court in

determining whether there are conditions of release that will reasonably assure the appearance of

the person as required:


            "( 1) the nature and circumstances of the offense charged, including
            whether the offense is a crime of violence, a violation of section 1591, a
            Federal crime of terrorism, or involves a minor victim or a controlled
            substance, firearm, explosive, or destructive device;
            (2) the weight of the evidence against the person;
            (3) the history and characteristics of the person, including-

                (A) the person's character, physical and mental condition, family ties,
                employment, financial resources, length of residence in the
                community, community ties, past conduct, history relating to drug or
                alcohol abuse, criminal history, and record concerning appearance at
                court proceedings; and
                (B) whether, at the time of the current offense or arrest, the person was
                on probation, on parole, or on other release pending trial, sentencing,
                appeal, or completion of sentence for an offense under Federal, State,
                or local law; and
            (4) the nature and seriousness of the danger to any person or the
            community that would be posed by the person's release. In considering the
            conditions of release described in subsection (c)(l)(B)(xi) or (c)(l)(B)(xii)
            of this section, the judicial officer may upon his own motion, or shall upon
            the motion of the Government, conduct an inquiry into the source of the
            property to be designated for potential forfeiture or offered as collateral to
            secure a bond, and shall decline to accept the designation, or the use as
            collateral, of property that, because of its source, will not reasonably
            assure the appearance of the person as required."
18   u.s.c. § 3142(g).

         Mr. Woo is charged with only one (1) count of money laundering in violation of 18

U.S.C. § 1956, which is an offense that does not involve violence or controlled substances.

While the information in the Superseding Indictment is limited, it would appear that, even if true,

the allegations portray Mr. Woo as the least culpable defendant charged. As noted in prior

sections, Mr. Woo does not have prior criminal history and has always been a law-abiding



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citizen. Mr. Woo maintains significant ties with his family as well as his local community. He

was not on probation, on parole, or on any other release pending judicial proceedings with any

federal or state authorities when he was arrested.


        Therefore, a totality of these factors and circumstances also indicate that it is not

necessary to keep Mr. Woo detained pending trial.


        III.    The Spread of COVID-19 Within Federal Detention Facilities Further
                Warrants Mr. Woo's Release Pending Trial.

        The ongoing COVID-19 pandemic warrants Mr. Woo's release from detention pending

trial both to reduce his risk of contracting the virus and to provide relief to the overburdened

federal detention system.


        District courts around the country have also begun to recognize the risks posed by COVID-

 19 to federal inmates. See, e.g., United States v. Davis, 449 F. Supp. 3d 532, 536-38 (D. Md. 2020)

(noting that "[s]ocial distancing in a pretrial facility is nearly impossible for anyone who enters its

doors, especially detainees," and that this makes the "transmission of COVID-19 more likely.");

 United States v. Grimes, 2020 U.S. Dist. LEXIS 100614, at *14 (E.D. Pa. June 9, 2020) (granting

the defendant's motion for pretrial release due to the defendant's history of respiratory disease);

 United States v. Carter, 2020 U.S. Dist. LEXIS 111541, * 13 (S.D.W.V. 2020) ("the unprecedented

magnitude of the COVID-19 pandemic and the extremely serious health risks that it presents for

 all of us, including, and perhaps especially, those individuals who are 'presently detained in federal

custody."'), quoting United States v. Wiggins, 2020 U.S. Dist. LEXIS 64941 (D. D.C. 2020).


        Notably, during the time when Mr. Woo was detained at the MDC Los Angeles facility

 and awaited to be transferred to Alexandria, Virginia, he contracted the virus in November 2020,

 which is around only one (1) month after he was taken in custody. His infection indicates that


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the virus has been spreading in the MDC Los Angeles facility and the control of the virus in this

facility is far from satisfactory.


        Detention facilities in Virginia, also, is significantly impacted by COVID-19. Pursuant to

information published by the Alexandria Sheriffs Office, after two (2) inmates were found to

have COVID-like symptoms on December 18, 2020, COVID-19 tests were conducted for 278

inmates on December 29, 2020. The tests revealed that 78 inmates were infected with the virus,

and that the virus had spread to at least three (3) housing units. See, City of Alexandria, Inmates

Test Positive for COVID-19, available at: https://www.alexandriava.gov/sheriff/de

fault.aspx?id=l 19464. The Sheriffs Office also noted that COVID-19 has "had a detrimental

effect on the staffing at the Adult Detention Center and has impeded operations. This limit's

staffs ability to give inmates reasonable amount of time out of their cells."


        In nearby Fairfax County, a recent COVID outbreak at the Fairfax County Jail resulted in

the death of a Sheriffs Deputy on January 12, 2021. This was after 13 inmates and 19 sheriffs

employees tested positive for the virus, despite the numerous precautions taken to avoid the

spread of the virus. See, DCist, Fairfax County Sheriffs Deputy Dies of COVID-19 Amid

Outbreak at Jail, available at: https://dcist.corn/story/21/01/ 12/fairfax-county-sheriffs-deputy-

dies-of-covid-19/.


        It is possible that Mr. Woo could be reinfected by the virus, as there has emerged cases of

reinfections with COVID-19. See, Centers for Disease Control and Prevention ("CDC"),

Reinfection with COVID-19, available at: https://www.cdc.gov/coronavirus/2019-ncov/your-

health/reinfection.html. During this time of uncertainty, the CDC recommends that people who

 have been infected by COVID-19 once should still follow proper social distancing and hygiene

 guidelines to protect themselves. See, id. A recent study has also found that an individual may be


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infected by a type of COVID-19 virus which is genetically distinct from the one that infected such

individual earlier, and therefore, one occasion of COVID-19 infection may not guarantee a

complete immunity from any and all COVID-19 viruses. See, Richard L. Tillett, PhD, Joel R.

Sevinsky, PhD, et al., Genomic Evidence for Reinfection with SARS-CoV-2: A Case Study, Lancet

Infectious     Diseases   (2020)    (published    online),     DOI:   https://doi.org/10.1016/Sl473-

3099(20)30764-7.


         Among other things, the CDC recommends that individuals should maintain a distance of

at least six (6) feet from others, to avoid close contact with people who are sick, and to cover their

mouth and nose with a mask when around others. See, CDC, How to Protect Yourself & Others,

available at https://www .cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/prevention.html.

The CDC's recommendations are, obviously, very difficult, if not impossible, to achieve within

 the confines of a federal prison facility. Mr. Woo's previous infection has also illustrated how

easily a person could contract the virus in the MDC Los Angeles facility and potentially in other

 detention facilities.


         Moreover, Mr. Woo's health condition has declined after he recovered from the COVID-

 19 infection, especially the acuteness of his smell and taste. During his battle against the virus, he

 experienced various symptoms such as fever, chest pain, muscle pain, headache, and difficulty in

 breathing, but he only received minimum treatment from the MDC Los Angeles facility. Instead,

 during his quarantine for over twenty (20) days, he was provided three (3) cold sandwiches every

 day. This condition raises reasonable concern as to Mr. Woo's safety if his detention should

 continue, as there exists risk that he could be reinfected with COVID-19 and, if so, he might not

 receive ~dequate care to help h~m recover and rehabil~tate.




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        Accordingly, given the condition in detention facilities as well as Mr. Woo's declined

health condition due to his prior infection of COVID-19, Mr. Woo should be released pending trial

to reduce the risk of reinfection.


        IV.      The Court Can Order Conditions Pursuant to 18 U.S.C. § 3142(b) and (c) to
                 Help Ensure that Mr. Woo Does Not Flee Pending Trial.

        18 U.S.C. § 3142(b) permits the Court to release a defendant on his personal

recognizance. Alternatively, if the Court determines that release on such defendant's personal

recognizance "will not reasonably assure the appearance of the person as required or will

endanger the safety of any other person or the community," the Court may impose various

conditions on such defendant's release pursuant to 18 U.S.C. § 3142(c). These potential

conditions include, among others, the following which may be appropriate in this matter:


              "(i) remain in the custody of a designated person, who agrees to assume
              supervision and to report any violation of a release condition to the
              court, ... ; ...

              (iv)abide by specified restrictions on personal associations, place of abode,
              or travel;
              (vi) report on a regular basis to a designated law enforcement agency,
              pretrial services agency, or other agency;

              (vii)comply with a specified curfew; ...

              (xi)execute an agreement to forfeit upon failing to appear as required,
              property of a sufficient unencumbered value, including money, as is
              reasonably necessary to assure the appearance of the person as
              required ... ; ...

              (xiv)satisfy any other condition that is reasonably necessary to assure the
              appearance of the person as required and to assure the safety of any other
              person and the community."
 18 U.S.C. § 3142(c)(l)(B).




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        Though Mr. Woo is at low risk of light or danger to the community should he be released

pending trial, there are nonetheless conditions which may be placed upon such release if the

Court feels it appropriate. For example,


           •   Participate in home detention with electronic location monitoring as directed by

               the Court or probation officer, the costs of which shall be paid by Mr. Woo as

               deemed appropriate by the probation officer;

           •   Submit to the installation of computer monitoring software on all electronic

               devices and allow the probation officer to monitor said devices as necessary;

           •   Reside in the custody of a suitable third-party custodian;

           •   Mr. Woo shall have no contact with any witnesses or alleged co-conspirators to

               the instant offense unless in the presence of counsel.

        As noted infra at page 7, Mr. Woo's parents, Mr. Su Nin Woo and Ms. Li Ping Situ, have

agreed to serve as a third-party custodian for Mr. Woo should the Court require a third-party

custodian to be appointed. Mr. Woo also is willing to abide by any such conditions should the

Court grant this Motion and order Mr. Woo to be released pending trial in this matter.


                                           CONCLUSION


        For all of the foregoing reasons, the Defendant respectfully requests, by and through

Counsel, that the Court grant the foregoing Motion and order that Mr. Woo be released from

detention pending trial in this matter, as well as any granting other relief that the Court deems

 appropriate. The Defendant requests the opportunity for Counsel to present oral argument in

support of this Motion, if the Court should deem it appropriate.




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                                             Attorney for Defendant, Eric Yong Woo

Dated: 15 January, 2021
       Fort Lee, New Jersey




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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division


UNITED STATES OF AMERICA,                      ]           Hon. Leonie M. Brinkema, U.S.D.J.

Plaintiff                                      ]

         v.                                    ]                      No. l:19-cr-334

ERIC YONG WOO, et al.                          ]                     Criminal Action

Defendant.                                     ]
_______________ ]
                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 15th day of January, 2021, a true and correct copy of the

within DEFENDANT'S MOTION FOR RELEASE PENDING TRIAL was electronically

filed via the ECF system for the U.S. District Court for the Eastern Di~trict of Virginia, with

electronic notice sent to: (a) David Alexander Peters, Assistant United States Attorney, U.S.

Attorney's Office (Alexandria), 2100 Jamieson Avenue, Alexandria, Virginia 22314; (b) Kerry

Blackburn, Assistant United States Attorney, U.S. Attorney's Office (Alexandria), 2100

Jamieson Avenue, Alexandria, Virginia 22314; and (c) Mary K. Daly, Assistant United States

Attorney, U.S. Attorney's Office (Alexandria), 2100 Jamieson Ave

22314.




                                                                             Patrick A. Mullin, Esq.

 Dated: 15 January, 2021
        Fort Lee, New Jersey




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